USDC IN/ND case 2:98-cr-00078-JTM-APR   document 997      filed 04/11/06   page 1 of 4


                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF INDIANA
                           HAMMOND DIVISION


 WILLIAM G. CURTIS,                         )
                                            )
 Petitioner,                                )
                                            )
 vs.                                        )      NO. 2:04-CV-443
                                            )         (2:98-CR-78)
 UNITED STATES OF AMERICA,                  )
                                            )
 Respondent.                                )


                               OPINION AND ORDER

       This matter is before the Court on the Application for a

 Certificate of Appealability, filed by Petitioner, William G. Curtis,

 on April 5, 2006.       For the reasons set forth below, Petitioner's

 Request for a Certificate of Appealability is DENIED.



 BACKGROUND

       Petitioner, William G. Curtis, was convicted on multiple counts

 related to his participation in a drug conspiracy in Gary, Indiana,

 in the course of which two people were murdered. Curtis then appealed

 to the Seventh Circuit, which affirmed his conviction.                    A detailed

 account of the underlying facts in this case can be found in United

 States   v.   Curtis,   324   F.3d   501   (7th   Cir.   2003).       Curtis    next

 petitioned the United States Supreme Court for a writ of certiorari,

 which was denied on November 3, 2003.             Petitioner followed with a
USDC IN/ND case 2:98-cr-00078-JTM-APR     document 997    filed 04/11/06   page 2 of 4


 collateral attack pursuant to Title 28 U.S.C. section 2255, which was

 denied.    Among the claims raised, Petitioner argued his counsel was

 ineffective    for    failing   to     suppress   evidence     seized     from   2282

 Jefferson Street on May 27, 1998.          However, Petitioner wholly failed

 to demonstrate that he had any, much less the requisite, expectation

 of   privacy   in    the   residence    located    at   2282   Jefferson    Street.

 Minnesota v. Carter, 525 U.S. 83, 88 (1988) ("[I]n order to claim the

 protection of the Fourth Amendment, a defendant must demonstrate that

 he personally has an expectation of privacy in the place searched, and

 that his expectation is reasonable.").             Since Petitioner would not

 have had standing to challenge the search, he failed to establish the

 requisite prejudice under Strickland v. Washington, 466 U.S. 668 at

 694 (1984).

       In his instant motion, Petitioner again raises the argument that

 his counsel was ineffective for failing to challenge the May 27, 1998,

 search of 2282 Jefferson Street.               As explained below, this Court

 rejects the same argument in the current context.



 DISCUSSION

       A movant seeking to appeal the denial of a section 2255 petition

 must obtain a certificate of appealability.             28 U.S.C. § 2253(c)(1).

 Petitioner may obtain a certificate of appealability "only if [he] has

 made a substantial showing of the denial of a constitutional right."

 28 U.S.C. § 2253(c)(2); Herrera v. United States, 96 F.3d 1010, 1012


                                          -2-
USDC IN/ND case 2:98-cr-00078-JTM-APR     document 997    filed 04/11/06    page 3 of 4


 (7th Cir. 1996); United States v. Maloney, No. 97 C 7142, 1998 WL

 748265, at *1 (N.D. Ill. Oct. 21, 1998).              To satisfy the standard,

 Petitioner must demonstrate that the issue he wishes to appeal is

 "debatable among jurists of reason," or that a court could "resolve

 the issues" differently, or that the questions presented in his

 request are "adequate to deserve encouragement to proceed further."

 Porter v. Gramley, 112 F.3d 1308, 1312 (7th Cir. 1997) (quoting

 Barefoot v. Estelle, 463 U.S. 880, 893 n.4 (1983)); Herrera, 96 F.3d

 at 1012.

       In denying Petitioner's section 2255 petition, this Court found

 that even if his counsel would have attempted to suppress evidence

 seized from the May 27 search, it would have been fruitless as

 Petitioner did not have standing to challenge the search.                    Indeed,

 Petitioner failed to demonstrate that he had any expectation of

 privacy in the residence located at 2282 Jefferson Street. Curtis now

 claims he did have standing because he had "dominion and control" over

 2282 Jefferson Street. However, Petitioner fails to substantiate this

 allegation with any concrete facts with citations to the record.

       Upon   due   consideration,      the    Court   finds   that   its    analysis

 employed to deny Petitioner's section 2255 petition is not: 1)

 debatable among jurists of reason; 2) questionable such that another

 court could resolve the issues differently; or 3) questionable such

 that Petitioner deserves encouragement to proceed further.                    Porter,

 112 F.3d at 1312; Herrera, 96 F.3d at 1012.             Accordingly, Petitioner


                                         -3-
USDC IN/ND case 2:98-cr-00078-JTM-APR    document 997   filed 04/11/06   page 4 of 4


 has   not    met   the   "substantial   showing"   necessary      to    receive   a

 certificate of appealability.           Id.   As a result, his request is

 DENIED.



 DATED:      April 11, 2006                /s/RUDY LOZANO, Judge
                                           United States District Court




                                         -4-
